            Case 2:21-cv-20706-MEF-ESK Document 35-3 Filed 02/08/23 Page 1 of 3 PageID: 263
Gmail - PRE-PURIM BLAST FOR SINGLES AGES 30-45 SUN. FEB. 25TH KINGSWAY JEWISH CENTER BALLROOM
                                                                                         2/5/23, 9:22 PM




 PRE-PURIM BLAST FOR SINGLES AGES 30-45 SUN. FEB. 25TH KINGSWAY JEWISH CENTER BALLROOM
 Baila Sebrow <bsebrow@aol.com>                                                                                     Tue, Jan 23, 2018 at 7:07 PM
 To:

  Banana Boy and the Chef will be there. Dr. Sleaze can’t. He’s still married.

  Sent from my iPhone

  On Jan 23, 2018, at 7:00 PM,                                           wrote:


         Banana boy ,dr sleeze and the Chef will be there

                On Jan 23, 2018, at 6:59 PM, Baila Sebrow <bsebrow@aol.com> wrote:

                Haha

                Sent from my iPhone

                On Jan 23, 2018, at 6:58 PM,                                      wrote:


                       Maybe Ill go if YOU are there

                              On Jan 23, 2018, at 4:16 PM, Baila Sebrow Events <bsebrow@aol.com> wrote:




                                                         ANNUAL PRE-PURIM BLAST
                                                            FOR FRUM SINGLES AGES 30-45

                                               SUNDAY FEBRUARY 25TH, 2018
                                                         6:00 PM
                                           KINGSWAY JEWISH CENTER BALLROOM
                                            2902 KINGS HIGHWAY BROOKLYN, NY
                                                           -SMORGASBORD OF DELICACIES-
                                                         INCLUDING HOT AND COLD DISHES

                                                                            -WINE BAR-

                                                    -MUSICAL ENTERTAINMENT-
                                       EXCITING LINE-UP OF FAMOUS PROFESSIONAL SINGERS

                                                          SHADCHANIM AND FACILITATORS

                                                              PLUS RAFFLES AND PRIZES
                                                                   ADMISSION: $36
                                                             TO BENEFIT: PROJECT MAZON

                                                    CONTACT: BAILA SEBROW (516) 849-5863
                                                           BSEBROW@AOL.COM

                                               PRESENTED BY BAILA SEBROW EVENTS, LLC.

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           Case 2:21-cv-20706-MEF-ESK Document 35-3 Filed 02/08/23 Page 2 of 3 PageID: 264
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                                                                                        2/5/23, 9:22 PM



                                    A JOINT PROJECT WITH THE JCC OF MARINE PARK
                                        L'ZECHER NISHMAS DOVID SHMUEL BEN YOSEF MORDECHAI, Z"L




                                                                  STAY CONNECTED:




                                          Baila Sebrow Events, 12 Beechwood Drive, Lawrence, NY 11559

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           Case 2:21-cv-20706-MEF-ESK Document 35-3 Filed 02/08/23 Page 3 of 3 PageID: 265
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